825 F.2d 176
    Jackson WARREN, Appellant,v.CITY OF LINCOLN, NEBRASKA;  James Breen;  Sandra L. Myersand David M. Beggs, Appellees.
    No. 86-1434NE.
    United States Court of Appeals,Eighth Circuit.
    July 24, 1987.
    
      Appeal from the United States District Court for the District of Nebraska;  Warren K. Urbom, Judge.
    
    Prior report:  816 F.2d 1254.ORDER
    
      1
      Petition for rehearing en banc has been considered by the Court and is granted.  The Clerk of this Court is directed to set this case for argument on Tuesday, September 15, 1987, at 9 a.m. in St. Louis, Missouri.  The parties are directed to file supplemental briefs not to exceed 15 pages.  The supplemental briefs should not duplicate prior briefs and only new cases should be argued.  All briefs should be limited to the points raised in the petition for rehearing en banc.  Supplemental briefs shall be simultaneously filed on August 20, 1987.
    
    